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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA

               v.                           Cr. No. 02-10286-MLW
                                            C.A. No. 10-11928-MLW
 KEVIN M. KELLEY,
      Defendant.

                               MEMORANDUM AND ORDER

 WOLF, D.J.                                                 December 8, 2015
I.    BACKGROUND

      On May 16, 2003, petitioner Kevin M. Kelley pled guilty to

being a felon in possession of a firearm.             The parties agreed that

Kelley was subject to a 15-year mandatory minimum sentence under

the Armed Career Criminal Act            ("ACCA"),   18 U.S.C.    §924 (e).     See

March 7,      2003 Memorandum and Order       (Docket No.      66).    On January

.16, 2004, this court sentenced Kelley to 188 months in prison, to

be followed by 60 months of supervised release.                The First Circuit

affirmed.       See United States v. Kelley, 402 F.3d 39, 40 (1st Cir.

2005) .

      Kelley subsequently filed a Motion to Vacate his sentence

pursuant to 28        U.S.C.    §2255.    Kelley asserted five         claims   for

relief, all based on the fact that the law license of the Assistant

United States Attorney who prosecuted him was suspended throughout

the   prosecution.        The   court    appointed   counsel     for   Kelley   and

ordered him to submit additional filings concerning a number of
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factual and legal issues raised in his petition.              See February 12,

2015 Memorandum and Order (Docket No. 192).

      On June 26,       2015,   while the parties were responding to the

February     12,   2015   Order,    the   Supreme   Court   decided Johnson    v.

United States, 135 S.Ct. 2551 (2015), which held unconstitutional

the "residual clause" of the ACCA.            Shortly thereafter, the court

stayed the case to permit Kelley additional time to consider the

impact of Johnson on his petition.               On December 4,   2015,   Kelley

filed a motion to amend his §2255 petition to assert a claim that,

under Johnson, he no longer qualifies as an Armed Career Criminal

and is, therefore, entitled to immediate release.              Kelley requests

that he be released immediately because he has served more than 10

years, which would be the statutory maximum sentence if he is not

now properly classified as an Armed Career Criminal.

II.   LEGAL STANDARD

      "Federal Rule of Civil Procedure 15 governs amendments to

habeas petitions in a §2255 proceeding."             United States v. Ciampi,

419 F.3d 20,       23   (1st Cir.    2005).      Under Rule 15,   "[t]he court

should freely give leave            [to amend]    when justice so requires."

Fed. R. Civ.       P. 15(a) (2).    Rule 15 permits a petitioner to raise

claims that were unavailable at the inception of a §2255 action.

See United States v. Barrett, 178 F.3d 34, 46               (1st Cir. 1999).

      A court may deny a motion to amend for reasons such as "undue

delay,    bad faith or dilatory motive on the part of the movant,

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repeated failure          to   cure deficiencies by amendments previously

allowed,       undue    prejudice    to    the    opposing   party       by    virtue   of

allowance of the amendment            [or]    futility of amendment[.]"             Foman

v. Davis, 371 U.S. 178, 182 (1962); United States v. Goodwyn, 797

F. Supp. 2d 177, 180 (D. Mass. 2011)              ("The Court need not, however,

permit a motion to amend             [a §2255 petition]           when the proposed

amendment would be futile or reward undue delay.").                           A court may

also deny a motion to amend a §2255 petition on the ground that it

seeks to evade the statutory restriction on successive petitions.

See 28 U.S.C.          §2255(h); Vitrano v.        United States,        721 F.3d 802,

807   (7th Cir. 2013).

III. DISCUSSION

       Kelley seeks leave of the court to amend his §2255 petition

to include claims based on Johnson.                This is Kelley's first motion

to amend.       Although the motion was filed nearly six months after

Johnson was decided, Kelley notified the government and the court

on August 11, 2015, that he would be investigating the application

of Johnson to his petition.               This was less than two months after

Johnson was decided.             Therefore,      the court finds that Kelley is

not acting with a dilatory motive,                 and that allowing amendment

would not cause undue delay or undue prejudice to the government.

       The court has also considered the fact that Kelley continues

to    assert    his     original    claims,      relating    to    the    prosecutor's

suspended license.             This is not a case where the petitioner has

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entirely replaced his original claims with new arguments                         in an

attempt to evade §2255's restriction on successive petitions.                      Cf.

Vitrano,     721 F.3d at 806-07.        The court,         therefore,     finds that

Kelley has not acted in bad faith by moving to amend.

      Kelley's      proposed   amendment       is   not,   on   its    face,    clearly

unmeritorious.       Therefore,    the court is not now deciding whether

amendment would be futile.         Rather, it is providing the government

an opportunity to address the merits of Kelley's Johnson claim.

IV.   ORDER

      In view of the foregoing,         it is hereby ORDERED that:

      1.      Kelley's   Motion    to      Amend     Pending     28    U.S.C.     §2255

Petition to Correct Sentence Pursuant to United States v. Johnson

and Request for Immediate Release (Docket No. 216) is ALLOWED with

regard to leave to amend.           The court will decide the merits of

Kelley's Johnson claim and request for release after that claim is

fully briefed.

      2.      The   government    shall,       by   December    21,    2015,    file   a

supplemental memorandum addressing the merits of Kelley's Johnson

claim.

      3.      Any reply shall be filed by January 5, 2016.



                                                                           ~.J\r~
                                                                                1:)
                                                                      DISTRICT JUDGE




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